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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                          Alexandria Division




    Sony Music Entertainment,et al..

                            Plaintiffs,

            V.                                                  Case No. 1:18-cv-950
                                                                Hon. Liam O'Grady
    Cox Communications,Inc.,et al..

                            Defendants.



                                               ORDER


        This matter comes before the Court on the Parties' Danbert motions to exclude certain

 expert testimony. The motions are fully briefed. The Court heard oral argument on October 24,

 2019, regarding the testimony of Dr. William H. Lehr for Plaintiffs, and Mr. Christian Tregillis

 and Dr. Nick Feamster for Defendants. Oral argument was not required for the remaining

 motions.


        The Court considers the motions under Federal Rule of Evidence 702, governing the

 admissibility ofexpert testimony:"[a] witness who is qualified as an expert by knowledge, skill,

 experience, training, or education may testify in the form of an opinion or otherwise if:(a)the

 expert's scientific, technical, or other specialized knowledge will help the trier of fact to

 understand the evidence or determine a fact in issue;(b)the testimony is based on sufficient facts

 or data;(c)the testimony is the product of reliable principles and methods; and (d)the expert has

 reliably applied the principles and methods to the facts ofthe case." Fed. R. Evid. 702. In

 carrying out its "gatekeeping role," the Court is mindful of additional applicable rules and the

 risks of misleading or confusing the jury with certain expert testimony. See Daubert v. Merrell
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